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                                                                          FILED
                                                                           OCT 2, 2013
                      UNITED STATES DISTRICT COURT                      CleN<, U,S District C
                                                                           District Of Mootan~urt
                          DISTRICT OF MONTANA                                  Great Falls
                          GREAT FALLS DIVISION



 UNITED STATES OF AMERICA,                   CR 13-65-GF-DLC-RKS

                     Plaintiff,              FINDINGS AND
                                             RECOMMENDATION
 vs.                                         CONCERNING PLEA

 CHARLOTTE B. NEW BREAST,

                     Defendant.


       The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of Theft from an Indian Tribal

Government Receiving Federal Funding (Count XXVII), as set forth in the

Indictment. In exchange for Defendant's plea, the United States has agreed to

dismiss counts I - XXII ofthe Indictment.

       After examining the Defendant under oath, I have made the following

determinations:

       1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

       2. That the Defendant is aware of the nature of the charge against her and

consequences ofpleading guilty to the charge,
,
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          3. That the Defendant fully understands her constitutional rights, and the

    extent to which she is waiving those rights by pleading guilty, and

          4. That the plea of guilty is a knowing and voluntary plea, supported by an

    independent basis in fact sufficient to prove each ofthe essential elements of the

    count charged.

          The Court further concludes that the Defendant had adequate time to review

    the Plea Agreement with counsel, that she fully understands each and every

    provision of the agreement and that all of the statements in the Plea Agreement are

    true. Therefore, I recommend that the Defendant be adjudged guilty of Count

    XXVII of the Indictment, and that sentence be imposed. I further recommend that

    Counts I - XXII of the Indictment be dismissed.

          This report is forwarded with the recommendation that the Court defer

    a decision regarding acceptance until the Court has reviewed the Plea

    Agreement and the presentence report.

          DATED this 21st day of October, 2013.




                                           United States Magistrate Judge
